UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:

        4921 12th AVENUE LLC,                                 Chapter 11

                                                              Case No. 18-47256
                                             Debtor.
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       AFFIDAVIT OF DEBTOR CONCERNING EQUITY SECURITY HOLDERS

STATE OF NEW YORK                  )
                                   ) ss: Brooklyn
COUNTY OF KINGS                    )

        Yehuda Salamon, being of full age, on his affirmation, deposes and says:

             1. I am the petitioner in the above matter.

             2. I am the sole shareholder of 4921 12th Avenue LLC.




                                                     /s/ Yehuda Salamon
                                                     Yehuda Salamon
SUBSCRIBED and AFFIRMED to
before me this 17th day of January, 2019


                                    /s/ Joseph Y. Balisok
                                               Joseph Y. Balisok
                                       Notary Public – State of New York
                                              No. 02BA6225166
                                           Qualified in Kings County
                                      My Commission Expires July 19, 2022
